           Case 2:14-cr-00059-RSL         Document 23        Filed 03/03/14     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 14-80
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JOEL LAGARDE ORTEGA,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Heroin with Intent to Distribute

15 Date of Detention Hearing:     March 3, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged by Complaint with the possession of a controlled



     DETENTION ORDER
     PAGE -1
             Case 2:14-cr-00059-RSL          Document 23        Filed 03/03/14      Page 2 of 3




01 substance, heroin, with intent to distribute. He does not contest entry of an order of detention.

02            2.      Defendant poses a risk of nonappearance due to ties to Mexico and frequent

03 travel, lack of ties to this District, some conflicting information about previous residences and

04 employment, and possession of a valid passport. He poses a risk of danger due to the nature of

05 the instant offense.

06            3.      There does not appear to be any condition or combination of conditions that will

07 reasonably assure the defendant’s appearance at future Court hearings while addressing the

08 danger to other persons or the community.

09 It is therefore ORDERED:

10         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

11            General for confinement in a correction facility separate, to the extent practicable, from

12            persons awaiting or serving sentences or being held in custody pending appeal;

13         2. Defendant shall be afforded reasonable opportunity for private consultation with

14            counsel;

15         3. On order of the United States or on request of an attorney for the Government, the

16            person in charge of the corrections facility in which defendant is confined shall deliver

17            the defendant to a United States Marshal for the purpose of an appearance in connection

18            with a court proceeding; and

19         4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

20            for the defendant, to the United States Marshal, and to the United State Pretrial Services

21            Officer.

22 / / /



     DETENTION ORDER
     PAGE -2
         Case 2:14-cr-00059-RSL     Document 23   Filed 03/03/14   Page 3 of 3




01       DATED this 3rd day of March, 2014.

02

03                                            A
                                              Mary Alice Theiler
04                                            Chief United States Magistrate Judge

05

06

07

08

09

10

11

12

13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
